        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 1 of 20




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                 No. 21-cr-123 (PLF)
                                          )
VITALI GOSSJANKOWSKI,                     )
                                          )
            Defendant                     )
__________________________________________)

     MOTION TO SUPPRESS PHYSICAL EVIDENCE AND RETURN PROPERTY

       Mr. Vitali GossJankowski, through counsel, respectfully moves this Court to suppress at

trial his electronic devices and any and all information seized and imaged from those devices. Mr.

GossJankowski further moves this Court to order the government to return the devices so that he

can adequately consult with defense counsel, review discovery, and prepare for trial. The evidence

should be suppressed because the government’s search and seizure of the devices was

unreasonable and violated the Fourth Amendment. The devices should be returned under Federal

Rule of Criminal Procedure 41(g). An evidentiary hearing on this motion is requested. 1

                           STATEMENT OF RELEVANT FACTS

       Mr. GossJankowski is charged in this case with six counts in relation to the events at the

U.S. Capitol on January 6, 2021. He is the sole defendant charged in this case and there is no

allegation that he conspired with any other individual. He is profoundly Deaf. His first language




1
 A hearing is currently scheduled on November 21, 2022, at 10:00 a.m., for the Court to hear oral
argument on the pending motions. See Mem. Op. & Order (Aug. 15, 2022), ECF 63. Mr.
GossJankowski respectfully requests that the Court also hear evidence on this motion at that
hearing, or schedule a separate evidentiary hearing on this motion.
                                                1
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 2 of 20




was not English, but rather American Sign Language (“ASL”). 2 Thus, he requires qualified

certified legal ASL interpretation to communicate effectively with law enforcement officers and

his defense attorneys.

       On January 18, 2021, the government obtained a warrant to search Mr. GossJankowski’s

residence and seize, inter alia, “[a]ny digital device which is capable of containing and reasonably

could contain” electronically-stored information. Ex. 1, Warrant Appl., Attachment B, ¶1(o);

Affidavit in Support of Warrant Application (“Aff.”) pp. 11–28. The scope of the warrant with

respect to electronically-stored information was effectively limitless. Id. The warrant contained

no particular articulable limitation on the seizure and search of electronic devices and

electronically-stored information found anywhere in Mr. GossJankowski’s residence.

       The same day, the government arrested Mr. GossJankowski and executed the search

warrant. The government seized the following electronic devices from Mr. GossJankowski’s

bedroom:

       1)      Droid Phone;

       2)      Tablet;

       3)      Silver Apple laptop Serial FVFZLQDZJ1WK (believed to be “MacBook Air”);




2
  ASL is a language that is distinct from English in both syntax and grammar. “ASL is not derived
from English; ASL has its own syntax and grammar and utilizes signs made by hand motions,
facial expressions, eye gazes, and body postures.” Pierce v. District of Columbia, 128 F. Supp. 3d
250, 275 (D.D.C. 2015) (Brown Jackson, J.).


                                                 2
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 3 of 20




       4)      Silver Apple laptop Serial CO2C80V6LVDN (believed to be “MacBook Pro”); 3

       5)      Black Lenovo laptop; and

       6)      Red iPhone XR.

Ex. 2, Search Warrant & Return, Property Receipt; Ex. 3, FBI Report dated Jan. 19, 2021. The

government also seized an iPhone 11 Pro Max cell phone from Mr. GossJankowski’s person upon

his arrest. Id. The government subsequently returned the iPhone 11 Pro Max cell phone to him

on January 20, 2021. 4 The government has retained the other electronic devices since the initial

search—now for more than 20 months.

       To date, the government has not identified any evidence of the crimes charged found on

any of the six electronic devices seized from Mr. GossJankowski’s bedroom, which it has retained.

Indeed, the government has provided no reason to believe that any evidence of any charged crime

exists on any of these devices. Still, the government maintains that all of the electronic devices

“are evidence” that it may keep and search at will through the disposition of this case. The

government will not return to Mr. GossJankowski any of the six electronic devices seized in the

residence search.

       Without a laptop computer, it has been incredibly difficult for Mr. GossJankowski to meet



3
  Mr. GossJankowski owns two Apple laptops—a MacBook Air and a MacBook Pro—that he used
for video communications. Defense counsel believes serial no. FVFZLQDZJ1WK is the
MacBook Air and serial no. CO2C80V6LVDN is the MacBook Pro, however, it is not clear from
the discovery provided. The government did not provide photographs of any of the seized devices.
Defense counsel understands that Mr. GossJankowski uses the MacBook Air primarily and it
functions better than the other laptops for video review and communication purposes.
4
  As the government likely realized, without the return of this cell phone, Mr. GossJankowski
would not have been able to appear remotely for court hearings or meet remotely with defense
counsel during the ongoing pandemic. Nor would he have been able to communicate with Pretrial
Services or review any of the electronically-stored discovery provided by the government, which
is the vast majority of the discovery in this case. Mr. GossJankowski has had to rely exclusively
on his cell phone for all of these purposes.
                                                3
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 4 of 20




with defense counsel remotely using an interpreter, review and discuss electronically-stored

evidence, and participate in remote court hearings—where there are at least seven participants at

each hearing—because Mr. GossJankowski must use his cell phone. His cell phone screen is too

small to show all of the participants in court hearings and video meetings and capture sign language

communication effectively.

                                          ARGUMENT

I.     The Electronic Devices and Any Evidence Seized and Imaged from Those Devices
       Should be Excluded Because the Warrant Is an Unconstitutional General Warrant
       that is Plainly and Clearly Invalid on its Face.

       The Fourth Amendment provides:

       The right of the people to be secure in their persons, houses, papers, and effects,
       against unreasonable searches and seizures, shall not be violated, and no Warrants
       shall issue, but upon probable cause, supported by Oath or affirmation, and
       particularly describing the place to be searched, and the persons or things to be
       seized.

U.S. Const. amend. IV. “The Founding generation crafted the Fourth Amendment as a response

to the reviled general warrants and writs of assistance of the colonial era, which allowed British

officers to rummage through homes in an unrestrained search for evidence of criminal activity.”

Carpenter v. United States, 138 S. Ct. 2206, 2213 (2018) (cleaned up). The prohibition against

“unreasonable searches” generally means that law enforcement officials must obtain a valid

warrant before undertaking a search. Riley v. California, 134 S. Ct. 2473, 2482 (2014); Mincey v.

Arizona, 437 U.S. 385, 390 (1978). To be valid, a warrant must be both (a) supported by “probable

cause” that the evidence sought will be found at the location to be searched, and (b) specific in

identifying the evidence sought to be seized. In re Grand Jury Subpoenas, 926 F.2d 847, 857 (9th

Cir. 1991).

       “Two distinct constitutional protections [are] served by the warrant requirement”:



                                                 4
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 5 of 20




       First, the magistrate’s scrutiny is intended to eliminate altogether searches not
       based on probable cause. The premise here is that any intrusion in the way of search
       or seizure is an evil, so that no intrusion at all is justified without a careful prior
       determination of necessity. . . . The second, distinct objective is that those searches
       deemed necessary should be as limited as possible. Here, the specific evil is the
       ‘general warrant’ abhorred by the colonists, and the problem is not that of intrusion
       per se, but of a general, exploratory rummaging in a person's belongings. . . . The
       warrant accomplishes this second objective by requiring a ‘particular description’
       of the things to be seized.

Coolidge v. New Hampshire, 403 U.S. 443, 467, (1971) (citations omitted). The warrant here is

defective in both ways. The warrant is an insufficiently particularized, overbroad, “general

warrant” and the government’s 20-month and continuing retention and indiscriminate review of

the vast amount of data accessible via Mr. GossJankowski’s digital devices is unreasonable under

the circumstances of this single-defendant single-occasion alleged trespassing and assault case.

       A.      The Warrant Was Not Supported By Probable Cause to Search and Seize Any
               and All Digital Devices in Mr. GossJankowki’s House.

       An application for a search warrant “must establish probable cause to believe . . . that

evidence is likely to be found at the place to be searched.” Groh v. Ramirez, 540 U.S. 551, 568

(2004) (emphasis added). The application “must articulate specific items that can be seized, and a

specific place to be searched[.]” Id. (emphases added). “Wholly conclusory” statements that an

affiant “has cause to suspect and does believe” that contraband will be found at a location “will

not do.” Illinois v. Gates, 462 U.S. 213, 232 (1983).

       “An application for a search warrant differs” from an application for an arrest warrant “in

that it is necessary to establish that certain items are probably located at the present time in a

certain place.” United States v. Tehfe, 722 F.2d 1114, 1119 (3d Cir. 1983) (emphasis added).

Thus, “to obtain a warrant to search for and seize a suspect’s possessions or property, the

government must do more than show probable cause to arrest him.” United States v. Griffith, 867

F.3d 1265, 1271 (D.C. Cir. 2017). It must show “probable cause to believe that the legitimate


                                                 5
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 6 of 20




object of a search is located in a particular place.” Id. (quoting Steagold v. United States, 451 U.S.

204, 213 (1981)). “Probable cause that a resident of the location has committed a crime is

inadequate, in itself, to satisfy th[e] requirement of showing that evidence probably will be found

at the locations searched.” United States v. Gil, 58 F.3d 1414, 1418 (9th Cir. 1995). Indeed, the

D.C. Circuit has expressly rejected the government’s invitation to “authoriz[e] a search of a

person’s home almost anytime there is probable cause to suspect her of a crime.” Griffith, 867

F.3d at 1275. “Moreover, there must, of course, be a nexus between the item to be seized and

criminal behavior.” Id. at 1271 (cleaned up) (quoting Warden, Md. Penitentiary v. Hayden, 387

U.S. 294, 307 (1967)). The warrant application must provide a logical nexus between the

particular suspect, the particular evidence sought from that suspect, and the particular place to be

searched. A “let’s look anywhere” approach to policing is exactly what the Fourth Amendment is

supposed to prevent.

       There was no evidence linking Mr. GossJankowski’s house to the suspected criminal

activity, and the warrant did not even limit the search to parts of the house occupied only by Mr.

GossJankowski, such as his bedroom. Thus, “[t]his case . . . involves the prospect of an especially

invasive search of an especially protected place.” Id. at 1272. The Fourth Amendment does not

authorize opportunistic searches of residences merely because an occupant is suspected of having

violated a law. The fact that some people may own and use digital devices is “not enough to justify

an intrusive search of a place lying at the center of the Fourth Amendment’s protections—a

home—for any [digital device Mr. GossJankowski] might own.” Id. at 1268.

       Here, other than one cell phone, the warrant application did not articulate any specific

digital device sought or provide any specific reason or probable cause to believe that any specific

digital device was likely to be found at the residence to be searched. Nothing in the affidavit refers



                                                  6
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 7 of 20




to Mr. GossJankowski using anything other than one cell phone, and a person’s cell phone

accompanies his person, not his residence. 5 The government had no reason to believe that Mr.

GossJankowski possessed or used any laptop or tablet at the U.S. Capitol on January 6, 2021, or

in connection with any of his alleged conduct. The affidavit contains no reason to believe that Mr.

GossJankowski had access to or used any digital device other than a cell phone before, during, or

after the alleged criminal activity took place. The affiant does not allege that the residence ever

contained any digital device. See Griffith, 867 F.3d at 1272 (“there is no commonsense reason

simply to presume that individuals own a computer or tablet”). The police may not obtain

authorization to search a suspect’s home for a laptop or tablet “without any particularized

information that he owned one.” Id. at 1273.

       Similarly, the warrant application did not articulate any specific information sought or

provide probable cause to believe that any such information was likely to be found on any digital

device in the residence. The affidavit lacks any reason to believe that Mr. GossJankowski would

have created or retained any incriminating information on any digital device found in his home.

Because digital devices “unlike drugs or other contraband, [are] not inherently illegal, there must

be reason to believe that a [specific digital device] may contain evidence of a crime.” Griffith, 867

F.3d at 1274. Here, the affidavit lacks any reason to believe that any digital device found in Mr.

GossJankowski’s residence would have been of any evidentiary value, when no ongoing criminal

activity was alleged to support the issuance of the warrant.




5
 Also, notably, nothing about the alleged criminal conduct has anything to do with a cell phone.
“And the warrant gave officers authority to search [Mr. GossJankowski]’s apartment for any cell
phones without regard to his presence on the scene.” Griffith, 867 F.3d at 1273. It also broadly
authorized the search and seizure of “all cell phones in [his house], so that the officers could later
access which (if any) belonged to [Mr. GossJankowski].” Id. Therefore, as discussed below, the
warrant was also unconstitutionally overbroad.
                                                  7
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 8 of 20




       The only basis in the affidavit for searching and seizing all digital devices in Mr.

GossJankowski’s residence is:

       In my experience and training, I know that individuals who participate in events
       such as the January 6, 2021, attack against the U.S. Capitol, communicate via social
       media sites, emails, and text messages, and must use electronic devices to do so. I
       also know that individuals who participated in the January 6, 2021, attack recorded
       activities using digital devices, including mobile phones. GOSSJANKOWSKI
       acknowledged that he used his mobile phone to record activities, but claimed the
       resulting files were deleted or lost. I also know that individuals who engage in the
       criminal conduct for which there is probable cause to believe GOSSJANKOWSKI
       engaged keep evidence of their criminal conduct, including souvenirs, at their
       residence. Accordingly, I believe there is probable cause that fruits, evidence,
       information, contraband, or instrumentalities of GOSSJANKOWSKI’s criminal
       conduct on January 6, 2021, will be located at his residence.

Ex. 1, Aff. pp. 10–11, ¶ 20.

       Aside from the assertion that Mr. GossJankowski acknowledged he used his mobile phone

to record his activities on January 6, the above statements describe most people. Most people

communicate via social media sites, emails, and text messages, and must use electronic devices to

do so. Most people knowingly or unknowingly record activities using digital devices. The

statement that criminals “keep evidence of their criminal conduct, including souvenirs, at their

residence” is nothing if not a textbook example of a warrant lacking in probable cause. It is the

sort of “wholly conclusory” statement that the Supreme Court has rejected as a proper basis for

probable cause. Gates, 462 U.S. at 239. It provides no more probable cause than the recitation

the Supreme Court rejected eighty years ago that an officer had “cause to suspect and does believe”

that certain items would be found at a residence. Nathanson v. United States, 290 U.S. 41, 44

(1933). The nexus between the particular evidence sought and the particular location to be

searched requires particular evidence—not society-wide generalities. The Fourth Amendment

does not allow the police to search all digital devices in the residence of anyone suspected of

criminal activity based on nothing more than a general assertion that criminals likely keep evidence


                                                 8
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 9 of 20




in digital devices.

        The government cannot rely on non-existent evidence to rummage around the entirety of a

digital device where it has no articulable reason to think such non-existent evidence might be found

on the digital device, let alone in any articulable place on the device. Where “the Government has

not shown that it ha[s] any prior knowledge of either the existence or the whereabouts of the [items

sought,]” United States v. Hubbell, 530 U.S. 27, 45 (2000), the government is—by definition—

“unable to describe with reasonable particularity[,]” id. at 30, the “place to be searched, and the .

. . things to be seized[,]” U.S. Const. amend. IV.

        In Riley v. California, 573 U.S. 373, 399 (2014), the Court explained, “[i]t would be a

particularly inexperienced or unimaginative law enforcement officer who could not come up with

several reasons to suppose evidence of just about any crime could be found on a cell phone.” Id.

The Court recognized that “[e]ven an individual pulled over for something as basic as speeding

might well have locational data dispositive of guilt on his phone. . . . The sources of potential

pertinent information are virtually unlimited.” Id. But police officers simply do not have

“unbridled discretion to rummage at will among a person’s private effects.” Id. (quoting Arizona

v. Gant, 556 U.S. 332, 345 (2009)). Thus, under Riley, something more is required; officers cannot

search Mr. GossJankowski’s digital devices simply because they can “come up with several

reasons to suppose evidence” of the crime alleged in this case “could be found” on it. Id.

        Here, the government had nothing more than the generalized reason rejected by the Court

in Riley to seize, search, or retain Mr. GossJankowski’s digital devices. If the affidavit here is

sufficient, then anytime police have reason to identify anyone as someone who committed a crime,

they would have probable cause to search any place that person may be staying and seize all

electronic devices in that location because “individuals . . . communicate via social medial sites,



                                                 9
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 10 of 20




emails, and text messages, and must use electronic devices to do so” and “individuals who engage

in [crimes] keep evidence of their criminal conduct, including souvenirs, at their residence.” Aff.

¶ 20. That result is inconsistent with Supreme Court precedent and would sanction exactly the sort

of general rummaging the Fourth Amendment prohibits. The Fourth Amendment does not

authorize opportunistic searches of residences and any and all digital devices found therein merely

because an occupant is suspected of having violated a law. The warrant therefore lacked probable

cause to seize and search all digital devices and any evidence seized should be suppressed at trial.

       B.      The Warrant is Unconstitutionally Overbroad and Lacks Sufficient
               Particularity.

       The warrant broadly authorizes the search and seizure from Mr. GossJankowski’s

residence—which he shares with at least two other people—“[a]ny digital device capable of

containing . . . information” “related to” a list of seven statutes, including the general conspiracy

statute, 18 U.S.C. § 371. Ex. 2, Attachment B. In addition to the complete absence of probable

cause to believe that Mr. GossJankowski engaged in any sort of conspiracy, citing the general

conspiracy statute purports to broaden an already otherwise overbroad warrant. “Although a

warrant’s reference to a particular statute may in certain circumstances limit the scope of the

warrant sufficiently to satisfy the particularity requirement . . . , it will not do so where, as here,

the warrant authorizes seizure of all records and where, as here, the reference is to a broad federal

statute[.]” United States v. Maxwell, 920 F.2d 1028, 1033 (D.C. Cir. 1990). “References to broad

statutes,” such as the general conspiracy statute, 18 U.S.C. § 371, “realistically constitute no

limitation at all on the scope of an otherwise overbroad warrant and therefore cannot save it.”

Maxwell, 920 F.2d. at 1033.

       In addition, thousands of people were implicated and hundreds charged with “violations of

18 U.S.C. § 1752(a)(1)-(2) and (b)(1)(A) (Knowingly Entering or Remaining in any Restricted


                                                  10
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 11 of 20




Building or Grounds without Lawful Authority while Using or Carrying a Dangerous Weapon),

18 U.S.C. § 111 (Assaulting a Federal Agent), 18 U.S.C. § 231 (Civil Disorders), 18 U.S.C. § 371

(Conspiracy), 18 U.S.C. § 930 (Possession of Firearms and Dangerous Weapons in Federal

Facilities), 18 U.S.C. § 1512 (Obstruction of Congress), and 40 U.S.C. § 5104(e)(2)(D)

(Knowingly Engaging in Disorderly Conduct on Capitol Grounds).” Ex. 2, Attachment B. Any

digital device capable of accessing the internet is capable of containing information and records

about these charges, about Mr. GossJankowski’s conduct on January 6, and about the events on

January 6, because information was widely disseminated, circulated, and publicized all over the

internet.

        Significantly, the list of “items to be seized” is both broad and non-exhaustive: in addition

to “any digital device,” it includes ten broad categories of “records and information” and is

expressly “not limited to” the list provided. Ex. 2, Attachment B. The warrant broadly defines

“the terms ‘records’ and ‘information’” to “include[]”

        all forms of creation or storage, including any form of computer or electronic
        storage (such as hard disks or other media that can store data); any handmade form
        (such as writing); any mechanical form (such as printing or typing); and any
        photographic form (such as microfilm, microfiche, prints, slides, negatives,
        videotapes, motion pictures, or photocopies).

Ex. 2, Attachment B. And it broadly defines “[t]he term ‘digital devices’” to “include[]”:

        any electronic system or device capable of storing or processing data in digital
        form, including central processing units; desktop computers, laptop computers,
        notebooks, and tablet computers; personal digital assistants; wireless
        communication devices, such as telephone paging devices, beepers, mobile
        telephones, and smart phones; digital cameras; peripheral input/output devices,
        such as keyboards, printers, scanners, plotters, monitors, and drives intended for
        removable media; related communications devices, such as modems, routers,
        cables, and connections; storage media, such as hard disk drives, floppy disks, USB
        flash drives, memory cards, optical disks, and magnetic tapes used to store digital
        data (excluding analog tapes such as VHS); security devices; and any other type of
        electronic, magnetic, optical, electrochemical, or other high speed data processing
        devices performing logical, arithmetic, or storage functions.


                                                 11
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 12 of 20




Ex. 2, Attachment B.

        Where, as here, a warrant fails to limit the search to those digital devices which could

contain certain files in question, fails to limit the timeframe of files to be seized, and simply seeks

all electronic files and data in a generalized sweep, the warrant is invalid and the evidence should

be suppressed. See, e.g., United States v. Kow, 58 F.3d 423, 425–27 (9th Cir. 1995); United States

v. Rosa, 626 F.3d 56, 60 (2d Cir. 2010).

       Moreover, the warrant in this case is exactly like the warrant held to be unconstitutionally

overbroad in Griffith. It “did not stop with any devices owned by [Mr. GossJankowski], which

already would have gone too far[:] It broadly authorized seizure of all cell phones and electronic

devices, without regard to ownership.” 867 F.3d at 1276. “Indeed, the terms of the warrant

allowed officers unfettered access to any electronic device in the [house] even if police knew the

device belonged to someone other than [Mr. GossJankowski].” Id. Mr. GossJankowski shared his

house with two roommates, “and the warrant authorized police to search for and seize all of [their]

electronic devices.” Id. “Yet the police unsurprisingly offered no explanation of why [the

roommates’] devices could have been appropriately seized.” Id.             As the D.C. Circuit has

emphasized, the search for and seizure of “otherwise lawful objects” “call[s] for special care to

assure the search is conducted in a manner that minimizes unwarranted intrusions of privacy.” Id.

(cleaned up) (quoting Andreson v. Maryland, 427 U.S. 463, 463 (1976)).                  “[A] blanket

authorization to search for and seize all electronic devices,” which the police can neither quantify

nor identify with any particularity, like the warrant issued here, is unconstitutional. Id.

       The Fourth Amendment’s particularity requirement is especially important where the

property to be seized and searched consists of digital devices and electronically stored information.

United States v. Galpin, 720 F.3d 436, 446 (2d Cir. 2013); United States v. Wey, 256 F. Supp. 3d


                                                  12
       Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 13 of 20




355, 382–83 (S.D.N.Y. 2017). The seizure and retention of electronic devices and data “give the

government possession of a vast trove of personal information about the person to whom the

[property] belongs, much of which may be entirely irrelevant to the criminal investigation that led

to the seizure.” United States v. Ganias, 824 F.3d 199, 217 (2d Cir. 2016) (en banc). “As such,

the potential for privacy violations occasioned by an unbridled, exploratory search of a hard drive

is enormous—a threat that is compounded by the nature of digital storage.” Wey, 256 F. Supp. 3d

at 383 (cleaned up). “There are just too many secrets on people’s computers, most legal, some

embarrassing, and some potentially tragic in their implications, for loose liberality in allowing

search warrants.” United States v. Gourde, 440 F.3d 1065, 1077 (9th Cir. 2006) (Kleinfeld, J.,

dissenting). A digital search captures vast quantities of data; innocent and personal information

with no relevance to the asserted claims; access points to other digital devices and data;

electronically stored information of which the user is unaware; and destroyed data. In re Appl. for

Search Warrant, 770 F. Supp. 2d 1138, 1144–46 (W.D. Wash. 2011). Therefore, “a heightened

sensitivity to the particularity requirement in the context of digital searches is necessary.” Wey,

256 F. Supp. 3d at 383 (cleaned up) (quoting Galpin, 720 F.3d at 447).

       Here, the scope of the warrant is effectively unbounded by the scope of Mr.

GossJankowski’s alleged crimes. The warrant does not require a digital device to contain any

linkage to Mr. GossJankowski’s alleged criminal actions to be subject to seizure and search

because a device did not have to be “used” or “part of” the criminal conduct; it need only contain

“information” “related to” the ubiquitous events of January 6. In addition, the warrant contains no

parameters on the part or parts of a digital device that may be searched and seized. It does not

limit the government to photographs and videos, or to GPS data, or to text messages or emails.

And the warrant “fail[s] to limit the items subject to seizure by reference to any relevant timeframe



                                                 13
       Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 14 of 20




or dates of interest.” Wey, 256 F. Supp. 3d at 387. The warrant lists no date range or limitation

on the electronic devices or electronically-stored information subject to search and seizure despite

the fact that all alleged criminal activity occurred on just one single day. The lack of a temporal

limitation is particularly significant here because the alleged criminal conduct was neither lengthy

nor complex. That the warrant contains no date or time-frame limitation thus underscores its plain

and obvious insufficiency. See United States v. Abboud, 438 F.3d 554, 576 (6th Cir. 2006)

(“Failure to limit broad descriptive terms by relevant dates, when such dates are available to the

police, will render a warrant overbroad.”).

       Moreover, the warrant provides no minimization procedures or procedural safeguards to

limit the amount of data to be seized or provide for the appropriate treatment of non-responsive

data seized and imaged (i.e., copied). It does not require the government to destroy or return non-

responsive data. Indeed, it allows the government to keep replica images of all digital devices

seized and search those images indefinitely and at-will. As a result, even if the government had

probable cause to seize and search all digital devices located in Mr. GossJankowski’s residence—

which it did not—the warrant was nevertheless overbroad and unconstitutional.

        In sum, the warrant is not “carefully tailored to its justifications” and, instead, “take[s] on

the character of the wide-ranging exploratory searches the Framers intended to prohibit.”

Maryland v. Garrison, 480 U.S. 79, 84 (1987). “The practical effect” of the warrant in this case

is that it “give[s] the government carte blanche to examine the entirety of [Mr. GossJankowski]’s

digital presence with impunity,” which is a direct “affront to the Fourth Amendment as

contemplated by the Founders.” In re Search of Cellular Telephones, 2014 WL 7793690, at *6

(D. Kan. 2014).




                                                 14
        Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 15 of 20




        C.     The Government’s Retention of the Electronic Devices and Duplicate Images
               of the Devices is Unreasonable.

        “[T]he manner in which the government executes the warrant must comport with the Fourth

Amendment’s reasonableness standard.” United States v. Metter, 860 F. Supp. 2d 205, 212

(E.D.N.Y. 2012).     When the government seizes electronic devices and media, “the Fourth

Amendment requires the government to complete its review, i.e., execute the warrant, within a

‘reasonable’ period of time.” Id. at 215. Seizing and “imaging” all electronic devices and retaining

those devices and images indefinitely to search at-will undoubtedly constitutes a “general search”

prohibited by the Fourth Amendment. Id. at 216. That is exactly what the government has done

here.

        The government seized the electronic devices on January 18, 2021. It imaged Mr.

GossJankowski’s iPhone 11 Pro Max cell phone and returned it to him on January 20, 2021. The

government will not return to Mr. GossJankowski any of the six electronic devices seized in the

residence search.

        Over a year after seizing the devices, on February 28, 2022, the government produced: (1)

approximately 29 image files and 5 video files from the iPhone 11 Pro Max cell phone; (2)

approximately 21 image files from the Red iPhone XR (iPhone 7 plus); and (3) approximately 39

image files from the tablet. Many of the same image files were provided from all three devices.

None of the images constitute fruits, contraband, or instrumentalities of the charged crimes. It is

unclear whether the government’s search is complete, but the government nonetheless retains the

devices (other than the iPhone 11) as well as complete images of the devices to search at-will

indefinitely. The government has not returned or destroyed materials seized that were not covered

by the warrant.

        To date, the government has not identified or provided any evidence obtained from (1) the


                                                15
       Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 16 of 20




Droid phone; (2) the MacBook Air laptop; (3) the MacBook Pro laptop; or (4) the Black Lenovo

laptop. The government has apparently not reviewed any of the laptop computers to determine

whether they contain any data falling within the scope of the information sought in the search

warrant. The government may not seize and image electronic data and then retain both the devices

and the data “with no plans whatsoever to begin review of that data to determine whether any

irrelevant, personal information was improperly seized.” Metter, 860 F. Supp. 2d at 215. The

government’s retention of Mr. GossJankowski’s laptops is particularly unreasonable because in

other cases, including very high-profile ones, the government has not even seized and retained

similar personal computers, but rather simply imaged them on-site and left them at the residence.

See, e.g., United States v. Manafort, 314 F. Supp. 3d 258 , 263 (D.D.C. 2018) (“The agents imaged

many of the electronic devices, including the two computers [an iMac desktop and MacBook Air

laptop], on site and left them there.”); Metter, 860 F. Supp. 2d at 210 (“With respect to the seized

computer hard drives, the government created images of the hard drives, and promptly returned

the computer hardware to its appropriate owner.”). See also In re Sealed Case, 716 F.3d 603, 604

(D.C. Cir. 2013) (“[w]ithin days” of government seizure of “more than sixty boxes of physical

property, as well as computers, hard drives, cell phones, and other devices that contained electronic

records,” containing “more than twenty-three million pages of documents,” “the government had

copied and returned . . . the contents of most of the electronic devices”).

       In almost two years, the government has not identified any evidence on either MacBook

laptop. Thus, for no discernible reason, Mr. GossJankowski has been denied the right to his

property and the ability to effectively review discovery and communicate by video with his

attorneys, in violation of fundamental guarantees in the Fourth, Fifth, and Sixth Amendments.




                                                 16
          Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 17 of 20




          D.     The Good Faith Exception Does Not Apply.

          The government is generally barred from introducing evidence in its case-in-chief that was

obtained in violation of the Fourth Amendment. United States v. Weeks, 232 U.S. 383 (1914);

Mapp v. Ohio, 367 U.S. 643 (1961). The exclusionary rule is meant to enforce Fourth Amendment

rights primarily by deterring further violations. United States v. Calandra, 414 U.S. 338, 348

(1974).

          In United States v. Leon, 468 U.S. 897 (1984), the Supreme Court announced the “good-

faith exception” to the exclusionary rule.       Where an officer executes a search warrant in

reasonable, good-faith reliance on the warrant’s validity, but a court later determines that the

warrant was invalid, the exclusionary rule will not apply. Id. at 922–26. However, if an officer’s

reliance on a warrant’s validity is objectively unreasonable—such as where a warrant is “based

on an ‘affidavit so lacking in probable cause’” or “so facially deficient” that the executing officers

cannot reasonably presume it to be valid—then the exclusionary rule still applies. Id. at 923. The

good faith exception may not apply even where there is no “reason to suppose that officers acted

in bad faith in relying on an invalid warrant.” Griffith, 867 F.3d at 1279.

          Here, as discussed above, the search warrant is defective on its face. An objectively

reasonable officer reviewing the warrant would recognize that, because it was unsupported by

probable cause and is unlimited in scope as to any and all digital devices, it never should have been

issued. See id. at 1278–79. Even without legal expertise, a reasonable officer would see that the

warrant in this case authorizes a general rummaging in search of evidence of criminal activity and

is thus invalid. “Nothing in the affidavit supported—or could have supported—probable cause to

seize any and all phones, tablets, computers, and other electronic devices in the apartment.” Id. at

1278. Thus, executing the warrant was objectively unreasonable.



                                                  17
       Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 18 of 20




II.    The Court Should Order The Government to Immediately Return Mr.
       GossJankowski’s Electronic Devices.

       Federal Rule of Criminal Procedure 41(g) provides:

       A person aggrieved by an unlawful search and seizure of property or by the
       deprivation of property may move for the property’s return. The motion must be
       filed in the district where the property was seized. The court must receive evidence
       on any factual issue necessary to decide the motion. If it grants the motion, the
       court must return the property to the movant, but may impose reasonable conditions
       to protect access to the property and its use in later proceedings.

Relief under this rule is not limited to cases in which the initial seizure of the property was

unlawful. See United States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1173 (9th Cir.

2010) (en banc) (explaining that the language in Rule 41(g) “was designed to expand the rule’s

coverage to include property lawfully seized” and noting “[t]hat Rule 41(g) is broader than the

exclusionary rule”); In re Sealed Case, 716 F.3d 603, 605 n. 2 (D.C. Cir. 2013). In a criminal

case, this Court “has both the jurisdiction and the duty to ensure the return” “to the defendant [of]

that property seized from him in the investigation but which is not alleged to be stolen, contraband,

or otherwise forfeitable, and which is not needed, or is no longer needed, as evidence.” United

States v. Wilson, 540 F.2d 1100, 1101 (D.C. Cir. 1976) (discussing Rule 41(e), the predecessor to

Rule 41(g)).

       Here, regardless of whether Mr. GossJankowski was aggrieved by an unlawful search and

seizure of property in this case, he is currently aggrieved by the deprivation of his MacBook

laptops. 6 He needs a laptop to communicate with defense counsel, review large amounts of

discovery, and assist in his defense and preparation for trial. Computers are expensive, and Mr.




6
  Mr. GossJankowski does not concede that any search or seizure in this case was lawful. See
United States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1172 (9th Cir. 2010) (en banc)
(explaining “crucial distinction between a motion to suppress and a motion for return of property:
[t]he former is limited by the exclusionary rule, the latter is not”).
                                                 18
       Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 19 of 20




GossJankowski is an indigent criminal defendant who qualifies for court-appointed counsel. He

cannot purchase another laptop to use while this proceeding remains pending, nor should he be

required to because there is no legitimate reason for the government to retain Mr. GossJankowski’s

electronic devices through the conclusion of this case.

       Mr. GossJankowski’s electronic devices are not probative in any way of his guilt or

innocence of the charges in this case. While Mr. GossJankowski possessed a cell phone on his

person on January 6, 2021—the government returned that to him. It is clear that he did not have

or use a laptop in connection with any of the charges. It is not unlawful or uncommon to possess

electronic devices, like laptops, in your residence. In any event, the government has now had over

20 months to search Mr. GossJankowski’s electronic devices and seize whatever data the search

warrant permits it to seize. There is no reason for the government to continue to hold all of Mr.

GossJankowski’s electronic devices.

       As courts have recognized, the government does not need the physical electronic device

“to review its contents” when the government has extracted (or imaged) the contents of the device.

United States v. Dennis, ___ F. Supp. 3d ___, 2022 WL 3580315, at *2 (S.D.N.Y. Aug. 19, 2022).

If the government has not “completed its extraction and/or review . . . despite having had more

than [twenty] months to do so,” it “would be a flimsy excuse for not allowing Mr.

[GossJankowski]’s repossession of his property” and also “invite[] inordinate delay.” Id.

       Nor does the government need Mr. GossJankowski’s devices “as evidence” because “the

Government can authenticate the contents of the [device] by other means.” Id. In Dennis, the

court ordered the government to return the cell phone it seized of a defendant facing cyberstalking

charges, explaining:

       [The government] can, for example, call witnesses who can testify that the extracted
       data was pulled from Mr. Dennis’s phone. Additionally, the Government has not


                                                19
       Case 1:21-cr-00123-PLF Document 72-2 Filed 09/22/22 Page 20 of 20




       explained how presentation at trial of Mr. Dennis’s phone will increase the
       credibility of its assertion that the extracted data did indeed come from Mr.
       Dennis’s phone. Thus, the Government has not established its need for continuing
       possession of Mr. Dennis’s property.

Id. (citing cases). As in Dennis, the government has no need for continuing possession of Mr.

GossJankowski’s property, particularly now after more than 20 months. Any negligible interest

the government may have in retaining Mr. GossJankowski’s devices is fully outweighed by his

property interest and his need for the property to meet with his attorneys and aid in his defense at

trial. The government’s retention of Mr. GossJankowski’s electronic devices and complete images

of them is unreasonable, unwarranted, and constitutes an unconstitutional deprivation of property

without due process of law.

                                         CONCLUSION

       For the foregoing reasons, and for any other reasons set forth at a hearing on this motion

or in supplemental pleadings, and that this Court may deem just and proper, Mr. GossJankowski

respectfully requests that the Court grant this motion, suppress from the government’s case-in-

chief his electronic devices and any and all information seized and imaged from those devices,

and order the government to promptly return to him the devices it has retained.

                                                             Respectfully submitted,

                                                             A.J. KRAMER
                                                             FEDERAL PUBLIC DEFENDER

                                                             ______/s/__________________
                                                             Ubong Akpan
                                                             Celia Goetzl
                                                             Assistant Federal Public Defenders
                                                             625 Indiana Ave., N.W., Suite 550
                                                             Washington, D.C. 20004
                                                             (202) 208-7500




                                                20
